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                  UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                     ANDRE BISASOR, Plaintiff,
                                                 v.
                 CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                      UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                                    Case No.1:23-cv-00374-JL
    PLAINTIFF’S REPLY TO THE HILLIARD DEFENDANTS’ OBJECTION TO PLAINTIFFS’
                             MOTION FOR SANCTIONS
1. I hereby provide this reply to pursuant to local rule 7.1(e)(1) & (2).1

2. The Hilliard defendants obviously have not answered the charges.

3. They are obviously lying and doubling down on lying, refusing to come clean.

4. They suggest that there is a misunderstanding by me without indicating what that misunderstanding is. This is

    a tell-take sign that my allegations of dishonesty by the defendants is correct and true, and that the defendants

    are trying to deflect, evade, dodge because they know they are caught in a lie.

5. They then try to turn it around on me with silly nitpicky points about statements made in the 4-23-24 hearing

    about the 5-13-24 deadline, and insinuating that because I filed the motion for sanctions at just before midnight

    on Thursday 5-9-24, then somehow I misrepresented that I needed until Monday 5-13-24 to file replies. First,

    This is the most ridiculous, smarmy, disingenuous argument one can make in objection to a motion for

    sanctions. First, this line of argument dodges or evades the substance of the motion for sanctions, thereby

    reinforcing and highlighting the validity of the allegations in the motion for sanctions. Second, my filing the

    motion for sanctions one business day before the 5-13-24 deadline does in no way show what the defendants

    are trying to insinuate. If I requested until 5-13-24 to file replies, then obviously I would have to start working

    on the replies at least the week before the 5-13-24 deadline. The motion for sanctions was a brief 4 page motion

    and entailed a quick copy and paste from the motion to remand file some months ago in December 2023.

    Either way, it is simply a ridiculous petty insinuation that is empty, that is designed to deflect and change the

    subject and should not be countenanced by the court. What should not be countenanced by the court is the

    lies and dishonesty and perjury by Hilliard and the suborning thereof by their lawyers.

6. I here refute/rebut the statements of the Hilliard defendants in this reply.


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  I tried filing this on Friday May 31, 2024 but was prevented by system error from doing so. I am quickly filing this now because it was
already prepared and was intended to be filed on 5-31-24. See declaration of technical failure filed.
                                                                    1
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7. I file this reply or motion pursuant to Local Rule 7.1(e)(1) or (2).

8. Please grant a pro se liberal construction to this pleading.

9. Please grant my request or grant any other relief the Court deems proper.

                                                                                                  Respectfully submitted,
                                                                                                        /s/Andre Bisasor
May 31, 2024                                                                                      Plaintiff Andre Bisasor
                                          CERTIFICATE OF SERVICE
                        This filing is served to all parties of record via the e-filing system.
                                                                                                       /s/Andre Bisasor
                                                                                                          Andre Bisasor




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